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 7   Individually and on behalf of all others similarly situated
 8
 9                           UNITED STATES DISTRICT COURT
10                                DISTRICT OF NEVADA
11
12        Cindy Rohrbach, individually and                      Case No:
          on behalf of all others similarly
13        situated,                                             Class Action
14
                               Plaintiff,                       Complaint For Damages Under
15        v.                                                    the Fair Debt Collection Practices
16                                                              Act, 15 U.S.C. §§ 1692 et seq.
          Trueaccord Corp.,
17                                                              Jury Trial Demanded
18                             Defendant.
19
20
21                                              Introduction
22   1.        The United States Congress has found abundant evidence of the use of
23             abusive, deceptive, and unfair debt collection practices by many debt
24             collectors, and has determined that abusive debt collection practices
25             contribute to the number of personal bankruptcies, to marital instability, to the
26             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
27             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
28             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,

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 1          to insure that those debt collectors who refrain from using abusive debt
 2          collection practices are not competitively disadvantaged, and to promote
 3          consistent State action to protect consumers against debt collection abuses.
 4   2.     Cindy Rohrbach (“Plaintiff”), through her attorneys, brings this action to
 5          challenge the actions of Trueaccord Corp. (“Defendant”), with regard to debt
 6          collection attempts by Defendant designed to unlawfully and abusively collect
 7          a debt allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
 8   3.     Plaintiff makes these allegations on information and belief, with the exception
 9          of those allegations that pertain directly to Plaintiff, which Plaintiff alleges on
10          her personal knowledge.
11   4.     While many violations are described below with specificity, this Complaint
12          alleges violations of the statutes cited in their entirety.
13   5.     Unless otherwise stated, all the conduct engaged in by Defendant took place
14          in Nevada.
15   6.     Any violations by Defendant were knowing, willful, and intentional, and
16          Defendant did not maintain procedures reasonably adapted to avoid any such
17          specific violation.
18   7.     All violations alleged regarding the FDCPA are material violations of the
19          FDCPA as these violations would limit the ability of a hypothetical least
20          sophisticated debtor to make an intelligent choice as to the alleged debt and
21          actions that should be taken to resolve the alleged debt.
22                                       Jurisdiction and Venue
23   8.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (federal
24          question jurisdiction).
25   9.     This action arises out of Defendant's violations of the Fair Debt Collection
26          Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
27   10.    Because Defendant does business within the State of Nevada, personal
28          jurisdiction is established.

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 1   11.    Venue is proper pursuant to 28 U.S.C. § 1391 because all the events described
 2          herein took place in Nevada.
 3   12.    At all times relevant, Defendant conducted business within the State of
 4          Nevada.
 5                                                  Parties
 6   13.    Plaintiff is a natural person who resides in Clark County, Nevada.
 7   14.    Plaintiff is a natural person allegedly obligated to pay a debt, and is a
 8          consumer as that term is defined by 15 U.S.C. § 1692a(3).
 9   15.    Defendant is corporation and collection agency, registered with the Nevada
10          Secretary of State and doing business in the State of Nevada.
11   16.    Defendant is a “person” who uses an instrumentality of interstate commerce
12          or the mails in a business the principal purpose of which is the collection of
13          debts, or who regularly collects or attempts to collect, directly or indirectly,
14          debts owed or due or asserted to be owed or due another and is therefore a
15          debt collector as that phrase is defined by 15 U.S.C. § 1692a(6).
16                                          Factual Allegations
17   17.    The following is some of the information Plaintiff is currently aware of, and it
18          is expected that after Plaintiff conducts discovery, these allegations will be
19          bolstered and enhanced through said discovery.
20   18.    Sometime before October 2018, Plaintiff’s identity was fraudulently used by
21          an unknown identity theft criminal to take out numerous loans with online
22          payday lenders, including Bright Lending, and Inbox Loans.
23   19.    These alleged obligations were primarily for personal, family or household
24          purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
25          §1692a(5).
26   20.    Whether a debt is actually owed by Plaintiff is irrelevant to this FDCPA
27          action.
28

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 1   21.    The alleged debt was thereafter assigned, placed, or otherwise transferred, to
 2          Defendant for collection.
 3   22.    In or around October 2018, Defendant began sending emails to Plaintiff to
 4          collect debt.
 5   23.    Plaintiff immediately informed Defendant that she was a victim of identity
 6          theft, did not authorize the loan, and that she therefore disputed the debt.
 7   24.    On October 31, 2018, Defendant responded to Plaintiff by email, in relevant
 8          part:
 9
                 Thank you for letting us know you may have been a victim of
10               identity theft.
11
                 Collection efforts will be paused for the next 21 days so you
12               can provide us the necessary documentation. Once we receive
                 the documentation, as discussed, we will return your account to
13
                 the creditor for review. If we don’t receive documentation
14               within 21 days, collection efforts will resume.
15
     25.    The email also gave some tips on how to deal with identify theft and
16
            concluded with the notice: “This communication is from a debt collector. This
17
            is an attempt to collect a debt and any information obtained will be used for
18
            that purpose.”
19
     26.    Plaintiff disputed the debt several times and received at least four email
20
            responses from Defendant with substantially the same language: “If we don’t
21
            receive documentation within 21 days, collection efforts will resume.”
22
     27.    At one point, Defendant acknowledged that the debt was the result of identity
23
            theft and agreed to “cease” its collection efforts but nevertheless continued to
24
            send emails to Plaintiff to attempt to collect the debt.
25
     28.    15 U.S.C. § 1692g(a) states: “Within five days after the initial communication
26
            with a consumer in connection with the collection of any debt, a debt
27
            collector shall, unless the following information is contained in the initial
28

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 1          communication or the consumer has paid the debt, send the consumer a
 2          written notice containing—
 3               (1) the amount of the debt;
 4               (2) the name of the creditor to whom the debt is owed;
 5               (3) a statement that unless the consumer, within thirty days after receipt of
 6               the notice, disputes the validity of the debt, or any portion thereof, the debt
 7               will be assumed to be valid by the debt collector;
 8               (4) a statement that if the consumer notifies the debt collector in writing
 9               within the thirty-day period that the debt, or any portion thereof, is
10               disputed, the debt collector will obtain verification of the debtor a copy of
11               a judgment against the consumer and a copy of such verification or
12               judgment will be mailed to the consumer by the debt collector; and
13               (5) a statement that, upon the consumer’s written request within the thirty-
14               day period, the debt collector will provide the consumer with the name and
15               address of the original creditor, if different from the current creditor.
16   29.    15 U.S.C. § 1692g(b) states: If the consumer notifies the debt collector in
17          writing within the thirty-day period described in subsection (a) that the debt,
18          or any portion thereof, is disputed, or that the consumer requests the name and
19          address of the original creditor, the debt collector shall cease collection of the
20          debt, or any disputed portion thereof, until the debt collector obtains
21          verification of the debt or a copy of a judgment, or the name and address of
22          the original creditor, and a copy of such verification or judgment, or name and
23          address of the original creditor, is mailed to the consumer by the debt
24          collector. Collection activities and communications that do not otherwise
25          violate this subchapter may continue during the 30-day period referred to in
26          subsection (a) unless the consumer has notified the debt collector in writing
27          that the debt, or any portion of the debt, is disputed or that the consumer
28          requests the name and address of the original creditor. Any collection

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 1          activities and communication during the 30-day period may not overshadow
 2          or be inconsistent with the disclosure of the consumer’s right to dispute the
 3          debt or request the name and address of the original creditor.
 4   30.    Defendant never sent such notices to Plaintiff and, on the contrary,
 5          specifically misrepresented Plaintiff’s rights under § 1692g, in violation of 15
 6          U.S.C. § 1692g.
 7   31.    Upon information and belief, Defendant misrepresented Plaintiff’s FDCPA
 8          rights in order to give Plaintiff a sense urgency that a proper notice would not
 9          otherwise have given, so that Plaintiff would feel compelled to pay the falsely
10          alleged debt.
11   32.    This language overshadowed, weakened, and failed to comply with, the notice
12          required by 15 U.S.C. § 1692g(a) because it attempted to limit the rights
13          available to Plaintiff in a manner that would confuse the least sophisticated
14          consumer into disregarding his or her rights pursuant to the validation notice
15          required in 15 U.S.C. § 1692g.
16   33.    The purpose in making this false threat was to attempt to coerce Plaintiff into
17          immediately paying the debt that Plaintiff was disputing rather than wait the
18          thirty days the FDCPA provides for, and rather than wait for the required
19          verification of the debt that the FDCPA mandates under these circumstances.
20   34.    By misrepresenting that Plaintiff had the obligation to provide documentation
21          of the disputed debt, and not the other way around, Defendant used a false,
22          deceptive, or misleading representation or means in connection with the
23          collection of a debt, in violation of 15 U.S.C. § 1692e and 15 U.S.C. §
24          1692e(10).
25   35.    Defendant’ misrepresentations were meant to cause, and did cause, Plaintiff to
26          suffer mental anguish and confusion concerning the validity of the debt and to
27          coerce Plaintiff to pay this debt that was not owed.
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 1                                      Class Action Allegations
 2   36.     Plaintiff brings this action on behalf of herself and on behalf of all others
 3           similarly situated (“the Class”), consisting of:
 4
                 All people within the United States who received any email
 5               from Defendant, in response to the person’s dispute, where the
                 email states “if we don’t receive documentation within 21 days,
 6
                 collection efforts will resume,” or substantially similar
 7               language, within one year prior to the filing of this Complaint.
 8
     37.     Defendant and its employees or agents are excluded from the Class. Plaintiff
 9
             does not know the number of members in the Class, but believe the Class
10
             members number in the hundreds, if not more. Thus, this matter should be
11
             certified as a Class action to assist in the expeditious litigation of this matter.
12
     38.     This suit seeks only statutory damages and injunctive relief for recovery of
13
             economic injury on behalf of the Class, and it expressly is not intended to
14
             request any recovery for personal injury and claims related thereto. Plaintiff
15
             reserves the right to expand the Class definition to seek recovery on behalf of
16
             additional persons as warranted as facts are learned in further investigation
17
             and discovery.
18
     39.     The joinder of the Class members is impractical and the disposition of their
19
             claims in the Class action will provide substantial benefits both to the parties
20
             and to the Court. The Class can be identified through Defendant’s records or
21
             Defendant’s agents’ records.
22
     40.     There is a well-defined community of interest in the questions of law and
23
             fact involved affecting the parties to be represented. The questions of law
24
             and fact to the Class predominate over questions which may affect individual
25
             Class members.
26
27
28

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 1   41.     Plaintiff is asserting claims that are typical of the Class. Plaintiff will fairly
 2           and adequately represent and protect the interests of the Class in that Plaintiff
 3           has no interests antagonistic to any member of the Class.
 4   42.     Plaintiff and the members of the Class have all suffered irreparable harm as a
 5           result of Defendant’s unlawful and wrongful conduct. Absent a class action,
 6           the Class will continue to face the potential for irreparable harm. In addition,
 7           these violations of law will be allowed to proceed without remedy and
 8           Defendant will likely continue such illegal conduct. Because of the size of
 9           the individual Class members’ claims, few, if any, Class members could
10           afford to seek legal redress for the wrongs complained of herein.
11   43.     Plaintiff has retained counsel experienced in handling class action claims and
12           claims involving violations of the FDCPA.
13   44.     A class action is a superior method for the fair and efficient adjudication of
14           this controversy. Class-wide damages are essential to induce Defendant to
15           comply with federal law. The interest of Class members in individually
16           controlling the prosecution of separate claims against Defendant is small
17           because the maximum statutory damages in an individual action for violation
18           of privacy are minimal. Management of these claims is likely to present
19           significantly fewer difficulties than those presented in many class claims.
20   45.     Defendant has acted on grounds generally applicable to the Class, thereby
21           making appropriate final injunctive relief and corresponding declaratory
22           relief with respect to the Class as a whole.
23                                           Causes of Action
24                                                 Count I
25                         Fair Debt Collection Practices Act (FDCPA)
26                                      15 U.S.C. §§ 1692 et seq.
27   46.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
28          paragraphs.

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 1   47.    The foregoing acts and omissions constitute numerous and multiple violations
 2          of the FDCPA, including but not limited to each and every one of the above-
 3          cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
 4   48.    As a result of each and every violation of the FDCPA, Plaintiff is entitled to
 5          any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
 6          pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and
 7          costs pursuant to 15 U.S.C. § 1692k(a)(3) from Defendant.
 8                                           Prayer for Relief
 9   49.    WHEREFORE, Plaintiff prays that judgment be entered against Defendant,
10          and that Plaintiff be awarded damages from Defendant, as follows:
11          •      Certify the Class as requested herein;
12          •      Appoint Plaintiff to serve as the Class Representative in this matter;
13          •      Appoint Plaintiff’s Counsel as Class Counsel in this matter;
14          •      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
15          •      An award of statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);
16          •      An award of costs of litigation and reasonable attorney’s fees, pursuant
17                 to 15 U.S.C. § 1692k(a)(3); and
18          •      Any other relief the Court may deem just and proper.
19                                             Trial by Jury
20   50.    Pursuant to the seventh amendment to the Constitution of the United States of
21          America, Plaintiff is entitled to, and demands, a trial by jury.
22   DATED this 22nd day of February 2019.
23                                                        Respectfully submitted,
24                                                        KAZEROUNI LAW GROUP, APC
25
                                                          By: /s/ Michael Kind
26                                                            Michael Kind, Esq.
27                                                            6069 S Fort Apache Road, Suite 100
                                                              Las Vegas, Nevada 89148
28                                                            Attorneys for Plaintiff

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